Case 1:20-cv-00984-WCB            Document 344      Filed 06/10/24    Page 1 of 6 PageID #: 13443




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

   PROLITEC INC.,

                     Plaintiff/Counter-Defendant,

   v.                                                 C.A. No. 20-984-WCB

   SCENTAIR TECHNOLOGIES, LLC,

                     Defendant/Counter-Plaintiff.
                                                       PUBLIC VERSION FILED: June 10, 2024


                          PROLITEC’S EXHIBIT I TO OPENING BRIEF
                    IN SUPPORT OF SUPPLEMENTAL CLAIM CONSTRUCTION



   Dated: June 3, 2024                                MCCARTER & ENGLISH, LLP
                                                      Brian R. Lemon (#4730)
   OF COUNSEL:                                        Alexandra M. Joyce (#6423)
                                                      Renaissance Centre
   Marc C. Levy                                       405 N. King Street, 8th Floor
   Syed M. Abedi                                      Wilmington, DE 19801
   Brian McQuillen                                    Tel: (302) 984-6300
   Jessica S. Gritton                                 blemon@mccarter.com
   Emily M. Ross                                      ajoyce@mccarter.com
   SEED IP LAW GROUP LLP
   701 Fifth Avenue, Suite 5400                       Attorneys for Plaintiff/Counter-Defendant
   Seattle, WA 98104                                  Prolitec Inc.
   Tel: (206) 622-4900
   MarcL@seedip.com
   SyedA@seedip.com
   Brian.McQuillen@seedip.com
   Jessica.Gritton@seedip.com
   Emily.Ross@seedip.com




  ME1 48664323v.1
Case 1:20-cv-00984-WCB   Document 344   Filed 06/10/24   Page 2 of 6 PageID #: 13444




                         EXHIBIT I
Case 1:20-cv-00984-WCB       Document 344       Filed 06/10/24   Page 3 of 6 PageID #: 13445
  RESTRICTED – ATTORNEYS’ EYES ONLY | ATTORNEYS’ EYES ONLY – SOURCE CODE




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

 PROLITEC INC.,                             )
                                            )
              Plaintiff/Counterclaim-       )
              Defendant,                    )
                                            )        C.A. No. 20-984-RGA
       v.                                   )
                                            )
 SCENTAIR TECHNOLOGIES, LLC,                )
                                            )
              Defendant/Counterclaim-
              Plaintiff.




                  OPENING EXPERT REPORT OF ROBERT DEZMELYK




  June 14, 2023
Case 1:20-cv-00984-WCB           Document 344        Filed 06/10/24      Page 4 of 6 PageID #: 13446
      RESTRICTED – ATTORNEYS’ EYES ONLY | ATTORNEYS’ EYES ONLY – SOURCE CODE


  terms I have used the plain and ordinary meaning of the terms that a practitioner of ordinary skill

  in the art (“POSITA”) would have had as of the priority date of the Asserted Patent, July 10,

  2013.

           44.     In order to characterize the skills and knowledge of a POSITA for the Asserted

  Patent I have considered a number of factors, including “(1) the educational level of the inventor;

  (2) type of problems encountered in the art; (3) prior art solutions to those problems; (4) rapidity

  with which innovations are made; (5) sophistication of the technology; and (6) educational level

  of active workers in the field.”2 It is my opinion that a POSITA would have a bachelor’s degree

  in electrical engineering or computer science, or an equivalent subject, or have two to three years

  of experience designing or implementing systems used to control networked devices. My

  definition of a POSITA for the Asserted Patent overlaps with the definition set forth by Cory

  Plock in his declaration dated Nov. 2, 2022, regarding the construction of claim terms for the

  Asserted Patent. I also agree with Dr. Plock that “more experience would compensate for less

  formal education, and vice versa.”

           45.     While I had more expertise and experience than a POSITA as of July 10, 2013, I

  have supervised, trained, and worked with individuals who closely matched the characteristics of

  a POSITA for the Asserted Patent, and I had those characteristics at an earlier time in my career.

  V.       ANALYSIS OF INFRINGEMENT

           46.     I have been asked to determine if Prolitec’s Aera Diffuser line, including the Aera

  Diffuser and the Aera Mini Diffuser (collectively, the “Aera Devices”), and the accompanying




  2
      These factors were identified in Environmental Designs, Ltd. v. Union Oil Co., 713 F.2d 693,

  696 (Fed. Cir. 1983)

                                                  - 16 -
Case 1:20-cv-00984-WCB           Document 344          Filed 06/10/24      Page 5 of 6 PageID #: 13447
   RESTRICTED – ATTORNEYS’ EYES ONLY | ATTORNEYS’ EYES ONLY – SOURCE CODE


          148.    To the extent that deposition testimony or further data, information or documents

  become available which have an impact on the opinions, conclusions, methodologies and evidence

  discussed herein, I reserve the right, pursuant to applicable rules, to supplement this report and any

  schedules, exhibits, documents, summaries or other materials attached hereto or referenced herein.

  I also specifically reserve the right to formulate and identify trial exhibits at a future date.

          149.    At trial, I may rely on visual aids, including demonstrations, or code highlighting.

  In connection with my testimony I may use as exhibits various documents produced in this case

  that refer or relate to the matters discussed in this report. I have not yet selected the particular

  exhibits that might be used. In addition, I may create or assist in the creation of demonstratives to

  assist me in testifying.



          I declare under penalty of perjury of the laws of the United States that, to the best of my

  knowledge, the foregoing is true and correct.

          Dated this 14th day of June, 2023.




                                                                  Robert Dezmelyk




                                                   - 56 -
Case 1:20-cv-00984-WCB           Document 344      Filed 06/10/24       Page 6 of 6 PageID #: 13448




                                   CERTIFICATE OF SERVICE

                    The undersigned counsel hereby certifies that true and correct copies of the

  foregoing document were caused to be served on June 3, 2024 on the following counsel in the

  manner indicated:

                                              Steven L. Caponi
                                             Matthew B. Goeller
                                              K&L Gates LLPP
                                        600 N. King Street, Suite 901
                                           Wilmington, DE 19801
                                               (302) 416-7080
                                         Steven.caponi@klgates.com
                                        Matthew.goeller@klgates.com

                                             Vincent J. Galluzzo
                                              K&L Gates LLP
                                      300 South Tryon Street, Suite 1000
                                            Charlotte, NC 28202
                                               (704) 331-7526
                                        Vincent.galluzzo@klgates.com

                                               Jared R. Lund
                                              K&L Gates LLP
                                     70 West Madison Street, Suite 3100
                                             Chicago, IL 60602
                                              (312) 372-1121
                                         Jared.lund@klgates.com

                              Counsel for Defendant ScentAir Technologies, LLC


                                                      /s/ Brian R. Lemon
                                                      Brian R. Lemon (#4730)




                                                  1
  ME1 47471482v.1
